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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Joseph G. Rosania, Jr.


 In re:

 NORTH SHORE ASSOCIATES, LLP,                    Case No. 23-10808-JGR
 EIN: XX-XXXXXXX                                 Chapter 11

           Debtor.
 _______________________________

 In re:

 NORTH SHORE MANOR, INC.,                        Case No. 23-10809-JGR
 EIN: XX-XXXXXXX                                 Chapter 11, Subchapter V

           Debtor.



                       ORDER VACATING JOINT ADMINISTRATION

       AS ORDERED in open court on March 31, 2023, the Court further ORDERS as
follows:

          1. A copy of this Order shall be docketed in Case No. 23-10808-JGR and Case
             No. 23-10809-JGR.

          2. The joint administration of the Chapter 11 cases of 23-10808-JGR, In re North
             Shore Associates, LLP and 23-10809-JGR, In Re North Shore Manor, Inc. is
             VACATED as of March 31, 2023. The two cases are now administered
             separately under their originally assigned case numbers.

          3. The Clerk of the Court shall compare and if necessary modify the records of
             the Court and specifically the list of attorneys for each case.

          4. Debtor and counsel for the Debtor in each case shall thereafter forthwith modify
             the mailing matrix for each case to reflect that all creditors and interested
             parties related to each case are properly noted.

Dated this 3rd day of April, 2023.
                                                   BY THE COURT:




                                                   Joseph G. Rosania, Jr.
                                                   United States Bankruptcy Judge
